              Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 1 of 13



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3                                           SUPERIOR COURT CLERK
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4                                           CASE #: 23-2-19533-7 SEA

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7                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                             IN AND FOR THE COUNTY OF KING
8
     JACOB ATKINSON, individually and on
9    behalf of all others similarly situated,              No.
10
                                    Plaintiff,             CLASS ACTION COMPLAINT FOR
                                                           DAMAGES, INJUNCTIVE RELIEF,
11
            v.                                             AND DECLARATORY RELIEF
12
     HERC RENTALS INC, a foreign profit
13   corporation; HERC RENTALS EMPLOYEE
     SERVICES LLC, a foreign limited liability
14
     company; and DOES 1-20,
15
                                    Defendants.
16

17          Plaintiff Jacob Atkinson, on behalf of himself and all others similarly situated (the

18   “Class”), by and through counsel, brings this Class Action Complaint against the above-captioned

19   Defendants (collectively, “Defendants”) and alleges, upon personal knowledge as to Plaintiff’s

20   own actions and Plaintiff’s counsel’s investigations, and upon information and belief as to all other

21   matters, as follows:

22                                   I.      NATURE OF THE CASE

23          1.      Effective January 1, 2023, employers must disclose in each posting for each job

24   opening, the wage scale or salary range and a general description of all of the benefits and other

25   compensation to be offered to the hired applicant. RCW 49.58.110(1).

26          2.      The Washington Legislature finds that “despite existing equal pay laws, there

27   continues to be a gap in wages and advancement opportunities among workers in Washington.”

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              Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 2 of 13



1    RCW 49.58.005(1). The Legislature further finds that “lower starting salaries translate into lower
2    pay, less family income, and more children and families in poverty.” RCW 49.58.005(3)(b).
3            3.      “Some folks do not have the networks or ability to negotiate salaries. Salaries vary
4    wildly in companies within the same industry and applicants do not have the ability to know what
5    the value of the position is.” H.B. Rep. ESSB 5761, at 2 (Wash. 2022). The Equal Pay and
6    Opportunities Act (“EPOA”) “allows a discussion at the start of the process instead of after an
7    offer has been made, which will increase the ability to negotiate pay.” Id. Additionally, “[m]any
8    candidates spend hours going through rounds of interviews only to find out they can’t live on the
9    offered pay.” S.B. Rep. ESSB 5761, at 3 (Wash. 2022). The EPOA makes Washington “more
10   competitive for job seekers. . . .” Id.
11           4.      This is a class action on behalf of individuals who applied to job openings with the
12   Defendants where the job postings did not include the wage scale or salary range in direct violation
13   of RCW 49.58.110.
14                                 II.     JURISDICTION AND VENUE
15           5.      This Court has jurisdiction over this cause of action pursuant to RCW 2.08.010.
16           6.      Venue is proper in this Court pursuant to RCW 4.12.025 because the acts and
17   omissions alleged took place, in whole or in part, in King County, Washington, and each
18   Defendant resides and transacts business in King County, Washington.
19           7.      Federal jurisdiction is inappropriate under the Class Action Fairness Act, 28
20   U.S.C. § 1332(d)(4)(A), because: (a) all members of the Class are applicants of Washington
21   employers, or were applicants of Washington employers, at all times relevant to their interactions
22   with Defendants; (b) each Defendant is registered to conduct business, and regularly transacts
23   business, within Washington; (c) the alleged conduct of Defendants occurred within Washington;
24   (d) the injuries to Plaintiff and the Class occurred within Washington; and (e) during the three-
25   year period preceding the filing of this action, no other class action has been filed asserting the
26   same or similar factual allegations against Defendants on behalf of the same persons.
27   Alternatively, federal jurisdiction is inappropriate under the Class Action Fairness Act because:

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               Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 3 of 13



1    (a) pursuant to 28 U.S.C. § 1332(d)(4)(B), more than two-thirds of the Class reside in Washington;
2    and (b) pursuant to 28 U.S.C. § 1332(2), the amount in controversy does not exceed the sum or
3    value of $5,000,000, exclusive of interest and costs.
4                                            III.    PARTIES
5             8.    Plaintiff Jacob Atkinson is a resident of King County, Washington and applied to
6    work for Defendants at their store located at 8520 216th Street Southeast, Woodinville,
7    Washington 98072.
8             9.    Defendant Herc Rentals Inc is a foreign profit corporation that regularly transacts
9    business in King County, Washington and has multiple offices for the transaction of business in
10   King County, Washington, including at 8520 216th Street Southeast, Woodinville, Washington
11   98072 and 5055 4th Avenue South, Seattle, Washington 98134.
12            10.   Defendant Herc Rentals Employee Services LLC is a foreign limited liability
13   company that regularly transacts business in King County, Washington and has multiple offices
14   for the transaction of business in King County, Washington, including at 8520 216th Street
15   Southeast, Woodinville, Washington 98072 and 5055 4th Avenue South, Seattle, Washington
16   98134.
17            11.   Plaintiff is currently unaware of the true names and capacities, whether individual,
18   corporate, associate, or otherwise, of the defendants sued herein under fictitious names Does 1-
19   20, inclusive, and therefore sues such defendants by such fictitious names. Plaintiff will seek leave
20   to amend this Complaint to allege the true names and capacities of the fictitiously named
21   defendants when their true names and capacities have been ascertained. Plaintiff is informed and
22   believes, and thereon alleges, each of the fictitiously named defendants is legally responsible in
23   some manner for the events and occurrences alleged herein, and for the damages suffered by
24   Plaintiff and the Class.
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               Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 4 of 13



1        IV.      FACTS APPLICABLE TO THE CLASS AND ALL CAUSES OF ACTION
2           12.     Effective January 1, 2023, all Washington employers are required to disclose in
3    each posting for each job opening the wage scale or salary range, and a general description of all
4    of the benefits and other compensation to be offered to the hired applicant. RCW 49.58.110.
5           13.     For the purposes of RCW 49.58.110, “posting” means any solicitation intended to
6    recruit job applicants for a specific available position, including recruitment done directly by an
7    employer or indirectly through a third party, and includes any postings done electronically, or with
8    a printed hard copy, that includes qualifications for desired applicants. RCW 49.58.110(1).
9           14.     Each Defendant employs more than 15 individuals.
10          15.     From January 1, 2023 to the present, Plaintiff and more than 40 Class members
11   applied to job openings with Defendants for positions located in Washington state where the
12   postings did not disclose the wage scale or salary range.
13          16.     On or about March 9, 2023, Plaintiff applied for a job opening in King County,
14   Washington with Defendants. The posting for the job opening did not disclose the wage scale or
15   salary range. A true and correct copy of Defendants’ job posting is attached hereto as Exhibit 1.
16          17.     Plaintiff and the Class members lost valuable time applying for jobs with
17   Defendants for which the wage scale or salary range was not disclosed to them.
18          18.     As a result of Plaintiff’s and Class members’ inability to evaluate the pay for the
19   position, negotiate that pay, and compare that pay to other available positions in the marketplace,
20   Plaintiff and the Class members were harmed.
21          19.     As a result of Defendants’ actions and omissions, Plaintiff and the Class have been
22   damaged in amounts to be proven at trial.
23                             V.      CLASS ACTION ALLEGATIONS
24          20.     Class Definition. Under Civil Rule 23(a) and (b)(3), Plaintiff brings this case as a
25   class action against Defendants on behalf of the Class defined as follows (the “Class”):
26                  All individuals who, from January 1, 2023 through the date notice
                    is provided to the Class, applied for a job opening in the State of
27
                    Washington with one or more of the Defendants, where the job
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              Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 5 of 13



1                   posting did not disclose the wage scale or salary range for the
                    position.
2

3           21.     Excluded from the Class are the Defendants and Defendants’ officers, directors,

4    and independent contractors, and any judge to whom this case is assigned, as well as his or her

5    staff and immediate family.

6           22.     Numerosity. There are potentially hundreds of individuals who applied for jobs

7    with Defendants within the time period relevant to this matter. Joinder of all such individuals is

8    impracticable. Further, the disposition of all claims of the Class in a single action will provide

9    substantial benefits and efficiency to all parties and to the Court.

10          23.     Commonality. Because all applicants applied for job openings that did not disclose

11   the wage scale or salary range, this is a straightforward matter of determining whether Defendants’

12   actions violate Washington law, and, if so, assessing damages.

13          24.     Typicality. Plaintiff’s claims are typical of the claims of the Class. Plaintiff and

14   Class members all applied for job openings with Defendants that did not disclose the wage scale

15   or salary range.

16          25.     Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.

17   Plaintiff has retained competent and capable attorneys with substantial experience in complex

18   class action litigation. Plaintiff and Plaintiff’s counsel are committed to prosecuting this action

19   vigorously on behalf of the Class and have the financial resources to do so. Neither Plaintiff nor

20   Plaintiff’s counsel have interests that are contrary to or that conflict with those of the Class.

21          26.     Predominance. Defendants have engaged in a common course of conduct of failing

22   to disclose the wage scale or salary range in job postings in violation of RCW 49.58.110. The

23   common issues arising from Defendants’ unlawful conduct affect Plaintiff and Class members and

24   predominate over any individual issues. Adjudication of these common issues in a single action

25   has the important and desirable advantage of judicial economy.

26          27.     Superiority. Plaintiff and the Class have suffered, and will continue to suffer, harm

27   and damages as a result of Defendants’ unlawful and wrongful conduct. Absent a class action,

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              Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 6 of 13



1    however, most Class members would find the cost of litigating their claims prohibitive, especially
2    when that cost is balanced against each individual’s respective potential award. Class treatment is
3    superior to multiple individual suits or piecemeal litigation because it conserves judicial resources,
4    promotes consistency and efficiency of adjudication, provides a forum for claimants with smaller
5    cases and those with few resources, and deters illegal activities. There will be no significant
6    difficulty in the management of this case as a class action. The Class members and the job postings
7    to which they applied are readily identifiable through Defendants’ own records.
8                                        VI.    CAUSES OF ACTION
9                                        FIRST CAUSE OF ACTION
                                       VIOLATION OF RCW 49.58.110
10
                                    Claim of Relief for Plaintiff and the Class
11          28.     Plaintiff incorporates by reference all foregoing factual allegations.
12          29.     As described more fully above, Defendants did not disclose the wage scale or salary
13   range in their job postings.
14          30.     On or after January 1, 2023, Plaintiff and the Class applied for job openings with
15   the Defendants where the postings did not disclose the wage scale or salary range.
16          31.     Defendants’ actions and omissions violate RCW 49.58.110.
17          32.     As a result of Defendants’ actions and omissions, Plaintiff and the Class have been
18   damaged in amounts to be proven at trial.
19                                      SECOND CAUSE OF ACTION
                                            INJUNCTIVE RELIEF
20                                  Claim of Relief for Plaintiff and the Class
21          33.     Plaintiff incorporates by reference all foregoing factual allegations.
22          34.     Plaintiff and the Class are entitled to an injunction prohibiting Defendants from
23   further violations of Washington law. Specifically, Plaintiff seeks injunctive relief to require
24   Defendants to disclose in each posting for each job opening the wage scale or salary range.
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              Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 7 of 13



1                                     THIRD CAUSE OF ACTION
                                       DECLARATORY RELIEF
2
                                 Claim of Relief for Plaintiff and the Class
3            35.     Plaintiff incorporates by reference all foregoing factual allegations.
4            36.     Plaintiff and the Class are entitled to a declaration that Defendants’ practice of
5    failing to disclose in each posting for each job opening the wage scale or salary range is illegal.
6            37.     Plaintiff and the Class are entitled to a final judicial determination of the amounts
7    owing to Plaintiff and the Class as a result of Defendants’ failure to disclose in each posting for
8    each job opening the wage scale or salary range.
9                                    VII.    REQUEST FOR RELIEF
10           Plaintiff, individually and on behalf of the members of the Class, requests that the Court
11   enter judgment against Defendants as follows:
12           1.      An Order certifying that this action be maintained as a class action and appointing
13   Plaintiff as Class Representative and Plaintiff’s counsel as Class Counsel;
14           2.      Statutory damages equal to Plaintiff’s and the Class members’ actual damages or
15   five thousand dollars, whichever is greater, pursuant to RCW 49.58.070(1);
16           3.      Costs and reasonable attorneys’ fees pursuant to RCW 49.58.070(1);
17           4.      Preliminary and permanent injunctive relief prohibiting, restraining, and enjoining
18   Defendants from engaging in the conduct complained of herein, including, but not limited to, an
19   Order requiring Defendants to disclose in each posting for each job opening the wage scale or
20   salary range;
21           5.      Declaratory relief to the effect that Defendants’ failure to disclose in each posting
22   for each job opening the wage scale or salary range violates Washington law;
23           6.      Pre- and post-judgment interest;
24           7.      Leave to amend the Complaint to conform to the evidence; and
25           8.      Any additional or further relief which the Court deems equitable, appropriate, or
26   just.
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            Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 8 of 13



1    DATED October 10, 2023                      EMERY | REDDY, PLLC
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Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 9 of 13




               EXHIBIT 1
Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 10 of 13
Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 11 of 13
Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 12 of 13
Case 2:23-cv-01739-BJR Document 1-1 Filed 11/13/23 Page 13 of 13
